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                    EXHIBIT 2
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
    IN RE: AUTOMOTIVE PARTS                               Master File No. 12-md-02311
    ANTITRUST LITIGATION




    THIS DOCUMENT RELATES TO:                             Hon. Sean F. Cox
                                                          Mag. Judge R. Steven Whalen
    ALL END-PAYOR ACTIONS



         DECLARATION OF ROBIN M. NIEMIEC IN SUPPORT OF
     FINANCIAL RECOVERY SERVICES, LLC’S EMERGENCY MOTION
     TO COMPEL ACCEPTANCE AND PROCESSING OF VEHICLE DATA
          I, Robin M. Niemiec, declare:

          1.      I am Chief Operating Officer of Financial Recovery Services, LLC

   d/b/a Financial Recovery Strategies (“FRS”). 1 I submit this declaration in support

   of FRS’s Emergency Motion to Compel Acceptance and Processing of Vehicle Data.

   This declaration is based on my personal knowledge, as well as my extensive

   experience with class action settlement administrations and distributions.




          1
            Unless otherwise specified, all references herein to docket entries are to the docket in 12-
   md-02311. All terms with initial capitalization that are not defined in this declaration have the
   same meanings as those set forth in the Memorandum of Law in Support of Financial Recovery
   Services, LLC’s Motion to Intervene (PageID.37697, ECF No. 2060).
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                              RELEVANT EXPERIENCE

         2.     I joined FRS in 2015 from Rust Consulting, Inc. (“Rust”), a leading

   class action claims administrator that, for more than 40 years, has designed,

   implemented, or managed more than 6,500 time-sensitive projects of all sizes and

   types. I managed Rust’s over 30-person Florida office and I directed the operation

   of Rust’s antitrust claims administration practice.

         3.     In my ten years of managing antitrust class action settlements at Rust,

   I oversaw more than 160 direct purchaser and indirect purchaser antitrust class action

   settlements—including some of the largest, most complex and data intensive in U.S.

   history—many of which involved hundreds of thousands of class members, and that

   collectively involved settlement funds of more than $15 billion and the processing

   of 6 million proofs of claim.

                              PLACEHOLDER CLAIMS

         4.     In my experience, both at Rust and at FRS, it has been and continues to

   be commonplace for timely filed blank claim forms to be treated in the exact same

   manner as timely filed partially incomplete claim forms.         In the hundreds of

   settlements that I directly oversaw at Rust, and in the hundreds of others of which I

   have personal knowledge, Rust customarily sent the same deficiency notice to

   claimants that timely filed blank claim forms as was sent to claimants that had timely

   filed partially incomplete claim forms. That deficiency notice provided the claimant


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   an opportunity to cure the missing data deficiency in their claim form, without

   distinguishing between claim forms containing some data for some claimed units

   and those that provided no data for any entries. If a claimant that had received such

   a deficiency notice submitted the required data by the deadline established in the

   deficiency notice or any extensions thereof, the claim, whether it was blank or

   partially complete when it was originally filed, was accepted to the extent of the data

   provided.

          5.     On January 24, 2019, I, together with Jeffrey N. Leibell, FRS’s Chief

   Legal & Financial Officer, participated in a meet and confer telephone conference

   with Class Counsel represented by Marc Seltzer and William V. Reiss. On behalf

   of FRS, I requested that conference to discuss how “to address now any data

   collection issues that may exist so that the process is more efficient, both for our

   clients and for the claims administrator.”2 At no time during that call was the subject

   of placeholder claims discussed. Neither Mr. Leibell nor I requested permission

   from Class Counsel to submit placeholder claims, and at no time did either

   Mr. Seltzer or Mr. Reiss explicitly or implicitly state that the placeholder claims that

   FRS had already filed, or any that FRS might file in the future, would be rejected.




          2
            Ex. C to Declaration of Jeffrey N. Leibell at 1 (June 18, 2020), PageID.37777, ECF No.
   2060-5; see Declaration of Jeffrey N. Leibell (June 18, 2020), PageID.37726, ECF No. 2060-2.


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                          PLACEHOLDER CLAIM DATA

         6.    Hardcopy placeholder claim forms are usually blank, other than

   including the identity and contact information of the claimant. When claim forms

   also may be filed electronically, as was the case for the End-Payor Settlements, the

   required fields must be populated for the form to be submitted.             In this

   administration, model year, make, model, place of purchase and date of purchase

   needed to be populated for the electronic form to be submitted. Accordingly, any

   placeholder claim that FRS filed electronically populated the required fields for a

   single placeholder vehicle.

         7.    In the hundreds of settlements that I administered in which business

   entities filed blank hardcopy claim forms or electronically filed claim forms with

   only one placeholder unit, I understood those claims to be placeholder claims.

   Accordingly, those claimants were sent deficiency notices. I knew from experience

   that, in response to the deficiency notice that would be sent, either the claim form

   would be updated by the deadline set forth in the deficiency notice or extensions

   thereof, or it would not. If the claimants responded in time to those notices, their

   supplemental data was processed as timely. If a claimant had submitted a blank

   claim form and did not timely respond to the deficiency notice, its claim was

   rejected; if a claimant had electronically submitted a claim form with one unit and

   did not timely respond to the deficiency notice, the claim was processed if the data


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   for that one unit was sufficient. The class counsel with whom I worked in connection

   with those settlements were well aware of this process, and none directed me to

   reject placeholder claims as untimely or fraudulent.

         8.     Given the ubiquitous nature of placeholder claims, it would surprise me

   to see a claims administrator waste time researching the one placeholder unit

   included on electronically submitted claim forms to determine whether it was

   legitimate. As mentioned above, such placeholder claim forms, if they are not timely

   supplemented with credible data, would be processed only to the extent that the data

   for the one claimed unit was sufficient. If they were timely supplemented, that

   supplemental data, not the original placeholder data, would be processed and

   evaluated.

         9.     When FRS files placeholder claims, as we did in this MDL, we never

   intend anything other than to establish the timeliness of the claim and to make the

   claims administrator aware of our intent to supplement the placeholder claim before

   any deadline established for doing so. With respect to placeholder claims for

   Insurers, FRS was careful to make sure that Class Counsel and the claims

   administrator were aware that placeholder claims would be supplemented.




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